                  Case 2:24-cv-00046-AM Document 4 Filed 06/04/24 Page 1 of 1

                                          United States District Court
                                           Western District of Texas
                                                    Del Rio
                                              Deficiency Notice


To:             Matthews, Chad
From:           Court Operations Department, Western District of Texas
Date:           Tuesday, June 4, 2024
Re:             02:24-CV-00046-AM / Doc # 3 / Filed On: 06/04/2024 09:55 AM CST

Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it is
deficient in the area(s) checked below. Please correct the deficiency(ies), as
noted below, and re-file document IMMEDIATELY. When re-filing document,
other than a motion, please ensure you add ‘corrected’ to the docket text. If
the document you are re-filing is a motion, select ‘corrected’ from the drop-
down list.

If an erroneous filing results in failure to meet a deadline, you will need
to seek relief, for any default, from the presiding judge.
(1) Other
   Remarks: Signature line on order must include Chief U.S. District Judge Alia Moses. Please correct and refile. This
pleading will not be forward to the Chief Judge for consideration and will be terminated.
